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FEDERAL BUREAU OF INVESTIGATION

Date of entry 01/26/2021

, employed as a Lieutenant with United States Capitol

Police (USCP), email address of

  
  
 

, personal
cellular phone number of , was interviewed at the United States
Library of Congress (101 Independence Avenue SE, Washington, D.C.). After
being advised of the identity of the interviewing Agent and the nature of

the interview, | provided the following information:

was scheduled to work at the United States Capitol Building on

January 6, 2021 at 2:00PM. was aware of the protests that were
taking place at the Capitol Building and decided to go into work sooner

rather than his start time.

arrived on K Street a little before 2:00PM, parked his vehicle

and walked to the subway tunnel connecting the Cannon Building to the
Capitol Building. L | doesn't normally park on K Street, but due to the
amount of protestors/rioters in the area he parked further away from the

Capitol Building.

was dressed in his long sleeve class A uniform, with lieutenant

bars on the shoulders, no helmet, no gas mask, and a dark blue face mask.

Upon entry into the Cannon Tunnel, passed an officer he knew

[ph]) and saw blood coming down "s face. was able to

gather approximately 10-12 USCP officers, and walked to the Capitol Visitor
Center (CVC).

Upon arrival at the CVC, observed a small group of USCP officers
attempting to hold back a larger group of unknown subjects (UNSUBS) near a
set of double doors leading into the CVC.

and the officers he was with, reinforced the group of
USCP officers and engaged the protestors. |] grabbed the first subject

 

Investigationon 01/26/2021 at Washington, District Of Columbia, United States (In Person)

898-WF-3368293 i 176-WF-3366759-GIESWEIN,
File# 89B-WF-3376938 Date drafted 01/26/2021

by POTRAFKA ERIK

 

 

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(UNSUB 1) he saw, and passed the subject to the rear of the line asking the

 

officers to handcuff the subject and arrest him.

then tried to arrest a second subject (UNSUB 2), and upon
grabbing UNSUB 2 to arrest him, another unknown subject (UNSUB 3) reached
over the shoulder of UNSUB 2 and sprayed || in the eyes with an

oleoresin capsicum (OC) type spray.

described the effect of the OC spray, sprayed by UNSUB 3, as
making his eyes water, coughing, and a burning sensation. knew what
OC spray effects are from being sprayed by OC in the past on multiple

occasions as part of his employment with USCP.

After being sprayed by the OC spray from UNSUB 3, let go of UNSUB
2 and grabbed UNSUB 3. USCP Officer came to position
and also grabbed UNSUB 3. While attempting to arrest UNSUB 3, UNSUB 3 was
actively resisting arrest, and remembered UNSUB 3 attempting to
punch by taking "Swings" at him. did not think UNSUB 3 was
able to connect any of the punches, but couldn't remember due to the crowd

around them, and actively trying to arrest UNSUB 3.

UNSUB 3, and went to the ground during the attempted

arrest. At this point, the crowd UNSUB 3 was in, advanced on their

position, grabbed UNSUB 3, and pulled him away from | | and [

described UNSUB 3 as follows: White male, approximately 5'8 ora
little taller, in his 30's, wearing goggles, a green in color newer style
military helmet with a rail system on the front, wearing full military
"garb", and had a ceramic like breast plate on with an unknown object near
the bottom of the vest or stomach area. also recalled UNSUB 3 had a
bat in his backpack, and that stuck out because he was concerned about UNSUB

3 using the bat.

After UNSUB 3 was able to get away from and , |]
recalled hearing about shots being fired near the House Gallery.

At this point, told all of the officers and the crowd of unknown
subjects (UNSUBS) to quiet down and listen to him. All UNSUBS and
USCP officers stopped engaging each other when told everyone to

listen to him. | told the UNSUBS that a shooting had occurred near
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the House Chambers and asked them if they wanted to be associated with
that. The UNSUBS said no and began walking away from the CVC area toward

the escalators.

also recalled an unknown subject (UNSUB 4) described as a
"large" (muscular) white male, in a black tank top shirt, and bald head.
UNSUB 4 was described as being one of the main agitators in the CVC, though
[ did not have physical contact with UNSUB 4.

left a group of USCP officers at the CVC double door entrance,
and took another group of USCP officers to the north doors on the 3rd floor
near the House Chambers, to assist with other USCP officers engaged with

other rioters.

While at the north doors, stated UNSUBS on the exterior door
sprayed OC type spray through the door at the USCP officers until they were
able to close the doors.

stated he received several scratches and bruises on his left arm
and hands but could not recall when specifically those injuries were
sustained. | also was sprayed by numerous chemical agents on January
6, 2021.
